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     Corporation
 6

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8
                              UNITED STATES DISTRICT COURT
 9
                            NORTHERN DISTRICT OF CALIFORNIA
10
                                        OAKLAND DIVISION
11

12
     IN RE APPLE IPHONE ANTITRUST LIT- CASE NO. 11-cv-06714-YGR (TSH)
13   IGATION,

14
     DONALD R. CAMERON, et al.,                     CASE NO. 19-CV-03074-YGR (TSH)
15
                         Plaintiffs,
16
           v.
17
     APPLE INC.,
18
                         Defendant.
19

20   EPIC GAMES, INC.,                              CASE NO. 20-CV-5640-YGR (TSH)

21         v.                                       NOTICE OF CHANGE IN COUNSEL

22         Plaintiff and Counter-Defendant,

23   APPLE INC.,

24         Defendant and Counterclaimant.

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                                       NOTICE OF CHANGE IN COUNSEL
          Case 4:20-cv-05640-YGR Document 864 Filed 12/22/23 Page 2 of 2


    1          PLEASE TAKE NOTICE that Gavin Skok of Fox Rothschild LLP hereby withdraws
    2   as an attorney of record for non-party Valve Corporation in this action. Dwight C. Do-
    3   novan of Fox Rothschild LLP remains as counsel of record.
    4                                           FOX ROTHSCHILD LLP
    5

    6                                           By s/DWIGHT C. DONOVAN
                                                   DWIGHT C. DONOVAN
    7
                                                By s/GAVIN SKOK
    8                                              GAVIN SKOK
                                                Attorneys for Non-Party Valve Corporation
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